           Case 5:23-cv-00714-D Document 3 Filed 08/14/23 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF OKLAHOMA


 TROYAWN JONES                                          )
         Plaintiff,                                     )
                                                        )
 v.                                                     ) Case No. 5:23-cv-00714-D
                                                        )
 ACCOUNT RESOLUTION SERVICES,                           )
 LLC.,                                                  )
          Defendant.                                    )
                                                        )


                                  ENTRY OF APPEARANCE

To the Clerk of this court and all parties of record:

       Enter my appearance as counsel in this case for Plaintiff Troyawn Jones.

I certify that I am admitted to practice in this court and am registered to file documents

electronically with this court.

                                             Respectfully submitted,

Dated: August 14, 2023                      By: s/ Tiffany Hill
                                            Tiffany Hill, Esq. (OBA# 31332)
                                            PO Box 5302
                                            Edmond, OK 73083
                                            (405) 456-9406
                                            thlegalconsulting@gmail.com
                                            ATTORNEY FOR PLAINTIFF




                                              1
           Case 5:23-cv-00714-D Document 3 Filed 08/14/23 Page 2 of 2




                             CERTIFICATE OF SERVICE

I hereby certify that I electronically filed the foregoing document, using the electronic case
filing system of the Court and a copy of the foregoing was served upon all parties of record
via CM/ECF.

                                           Respectfully submitted,

Dated: August 14, 2023                     s/ Tiffany Hill
                                           Tiffany Hill, Esq. (OBA #31332)




                                              2
